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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
WESTERN DIVISION

IRON WORKERS LOCAL NO. 25 ) NO. 4:09-cv-00405-ILH
PENSION FUND; INDIANA LABORERS)

PENSION FUND; IRON WORKERS ) QLW
DISTRICT COUNCIL OF WESTERN

NEW YORK; VICINITY PENSION

FUND; THE NEW IERSEY BUILDING

LABORERS PENSION AND ANNUITY

FUNDS; and HERB LAIR

VS.

PAUL G. ALLEN, ELOISE SCHMITZ ;
and NEIL SMIT,

)
)
)
)
)
Plaintiffs, §
)
)
)
)
)
Defendants. §

 

NOTICE OF WITHDRAWAL OF LEAD PLAINTIFFS’
MOTION TO LIFT STAY AND REOPEN CASE

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PLEASE TAKE NOTICE that Lead Plaintiffs Iron Workers Local No. 25 Pension
Fund, Indiana Laborers Pension Fund, and Iron Workers District Council of Western and
Vicinity Pension Fund, by and through their undersigned Lead Counsel, hereby withdraw
their Motion to Lift Stay and Reopen Case [Dkt. No. 51].l
DATED: February 18, 2009 THE ASA HUTCHINSON LAW GROUP, PLC

W. ASA HUTCHINSON III
Arkansas Bar No. 2001115

/s/ W. Asa Hutchinson 111
W. ASA HUTCHINSON III

 

World Trade Center

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Telephone: 479/878-1600

Liaison Counsel for Plaintz`jfs

 

1 Lead Plaintiffs have withdrawn their Motion to Lift Stay and Reopen Case as a result of the

entry of an Order dated February 9, 2010 issued by the U.S. Bankruptcy Court, Southern District of
New York, in In re Charter Communications, lnc., et al., Case No. 09-11435 (JMP) (Bankr.
S.D.N.Y.), which purports to enjoin the prosecution of this case (the "Injunction Order"). Lead
Plaintiffs intend to appeal the Injunction Order, and, upon reversal, to prosecute this case.
Therefore, notwithstanding anything in this notice of withdrawal, Lead Plaintiffs expressly reserve
all rights in connection with the eventual prosecution of this case, and believe that any and all
applicable statutes of limitation shall be, as a matter of law, tolled pending the outcome of the appeal
of the Injunction Order.

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CERTIFICATE OF SERVICE

I hereby certify that on February 18, 2010, 1 electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to
the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify
that I have mailed the foregoing document or paper via the United States Postal Service to
the non-CM/ECF participants indicated on the attached Manual Notice List.

1 certify under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct. Executed on February 18, 2010.

/s/W. Asa Hutchinson 111

 

W. ASA HUTCHINSON III

THE ASA HUTCHINSON LAW GROUP,
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Mailing Information for a Case 4:09-cv-00405-JLH

Electronic Mail Notice List
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Manual Notice List

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The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who
therefore require manual noticing). You may wish to use your mouse to select and copy this list into
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